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 Name and address:

                           Kara M. Mundy
                 Vorys, Sater, Seymour and Pease LLP
                           52 E. Gay Street
                        Columbus, OH 43215

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

 In re: KIA HYUNDAI VEHICLE THEFT MARKETING, SALES
                                                                          CASE NUMBER
 PRACTICES, AND PRODUCTS LIABILITY LITIGATION
                                          Plaintiff(s),                                       8:22-ML-3052-JVS(KESx)

                  V.

                                                                            APPLICATION OF NON-RESIDENT ATTORNEY
Objector Ruth Rubin                                                               TO APPEAR IN A SPECIFIC CASE
                                                       Defendant(s),                     PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, the certification in Section II, and have the
    designated Local Counsel sign in Section III. Space to supplement responses is provided in Section IV. The applicant must also attach a
    Certificate of Good Standing (issued within the last 30 days) from every state bar to which he or she is admitted;failure to do so will be
    grounds for denying the Application. Scan the completed Application, together with any attachment(s), to a single Portable Document
    Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronicfiling system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time offiling (using a credit
    card). The fee is requiredfor each case in which the applicant files an Application. Failure to pay the fee at the time offiling will be
    grounds for denying the Application. Out-of-statefederal government attorneys are not required to pay the $500 fee. (Certain
    attorneysfor the United States are also exempt from the requirement of applyingforpro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Mundy, Kara M.
Applicant's Name (Last Name, First Name & Middle Initial)                                        check here iffederal government attorney 0
Vorys, Sater, Seymour and Pease LLP
Firm/Agency Name
52 East Gay Street                                                     (614) 464-5669                        614-464-5669
                                                                       Telephone Number                      Fax Number
Street Address
Columbus, OH 43215                                                                           kmmundy@vorys.com
City, State, Zip Code                                                                             E-mail Address

I have been retained to represent the following parties:
Ruth Rubin                                                             ❑ Plaintiff(s) ❑ Defendant(s)        Other: Class Member
                                                                          Plaintiffs)     Defendant(s)      Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                  Name of Court                         Date of Admission         Active Member in Good Standing? (if not, please explain)
Ohio                                                      11/04/2013             Yes
U.S. Court of Appeals for the Sixth Circuit                08/26/2015            Yes
U.S. District Court for the S.D. of Ohio                     03/2014             Yes


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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                     Title of Action                            Date of Application       Granted / Denied?
2:21-cv-00801                       Sean Colvin, et al. v. Valve Corporation, et al.              02/24/2021               03/18/2021




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated 05/02/2024                                      Kara M. Mundy
                                                                     App    t's Name (please type or print)


                                                                     Applicant's Signature


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SECTION III - DESIGNATION OF LOCAL COUNSEL
McCormick, Thomas N.
Designee's Name (Last Name, First Name & Middle Initial)
Vorys, Sater, Seymour and Pease LLP
 Firm/Agency Name

4675 MacArthur Court                                              (949) 526-7903

Suite 700                                                         Telephone Number                         Fax Number

Street Address                                                    tnmccormick@vorys.com

Newport Beach, CA 92660                                           Email Address

City, State, Zip Code                                             325537
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

               Dated 05/07/2024                                   Thomas N. McCormick
                                                                  Desi • n ' Name (please type or print)


                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)




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